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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION




PORCHA WOODRUFF,
    an individual,                             Case No.
           Plaintiff,                          Hon.

V

CITY OF DETROIT
a municipal corporation,

LaSHAUNTIA OLIVER,
City of Detroit Police Detective,
Individually, and in his Official
Capacities, and

              Defendants.



                       COMPLAINT AND JURY DEMAND

        NOW COMES Plaintiff, Porcha Woodruff, through her attorneys the Law

Offices of Ivan L. Land, P.C., and she states the following for her complaint.

                                 INTRODUCTION

1.      Facial recognition technology has long been known for its inherent flaws

        and unreliability, particularly when attempting to identify black individuals

        such as Porcha Woodruff. It should be understood that facial recognition

        alone cannot serve as probable cause for arrests, as a computer's


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     identification is prone to errors that humans might also make. Therefore, law

     enforcement must conduct thorough investigations to avoid wrongful arrests

     and protect innocent lives.

2.   Porcha Woodruff, a 32-year-old resident of Detroit who lived with her two

     children (ages 12, and 6), and her fiancé. Notably, at the time of her arrest

     for robbery and carjacking, she was eight months pregnant.




3.   On February 16, 2023, at 7:50 a.m., Ms. Woodruff was preparing her

     children for school when she was confronted by six Detroit police officers at

     her doorstep. They presented her with an arrest warrant for robbery and

     carjacking, leaving her baffled and assuming it was a joke, given her visibly

     pregnant state. However, the officers made it clear they were serious and

     proceeded to arrest her.

4.   Ms. Woodruff later discovered that she was implicated as a suspect through

     a photo lineup shown to the victim of the robbery and carjacking, following

     an unreliable facial recognition match.


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5.    This case highlights the significant flaws associated with using facial

      recognition technology to identify criminal suspects. Despite its potential,

      law enforcement's reliance on facial recognition has led to wrongful arrests,

      causing humiliation, embarrassment, and physical injury, as evident in this

      particular incident.

6.    The Detroit Police Department has faced similar situations in the past, with

      individuals like Robert Williams and Michael Oliver two highly publicized

      cases. These two individuals were also falsely accused by the Detroit Police

      due to the reliance of facial recognition.

7.    The need for reform and more accurate investigative methods by the Detroit

      Police has become evident, as we delve into the troubling implications of

      facial recognition technology in this case.

                         JURISDICTION AND VENUE

8.    This action is brought pursuant to 42 U.S.C. §1983 to redress the deprivation

      under color of law of Plaintiff’s rights as secured by the United States

      Constitution.

9.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §1331,

      §1343, and §1367.

10.   Venue is proper under 28 U.S.C. §1391 (b), as the events giving rise to the

      claims asserted in this complaint occurred within this district.



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                                    PARTIES

11.   Plaintiff, PORCHA WOODRUFF, (hereinafter “PLAINTIFF”), is a resident

      of the County of Wayne, State of Michigan.

12.   Defendant, City of Detroit (hereinafter “DEFENDANT DETROIT”), is a

      municipal corporation located in the County of Wayne, State of Michigan.

13.   Defendant, LaSHAUNTIA OLIVER (hereinafter “DETECTIVE OLIVER”),

      was at all relevant times a City of Detroit Police Officer and/or employed by

      DEFENDANT DETROIT and acting under color of law and within the

      scope of her employment.

                                     FACTS

14.   On January 29, 2023, Laurence Walker (hereinafter "VICTIM") reported to

      the Detroit Police Department that he had been robbed at gunpoint for his

      personal property and his vehicle (See Exhibit 1).

15.   On January 30, 2023, DETECTIVE OLIVER from the commercial auto

      theft unit of the Detroit Police Department was assigned VICTIM’s case.

16.   On January 31, 2023, DETECTIVE OLIVER contacted the VICTIM and

      was informed that VICTIM's cellphone that was stolen during the robbery

      had been returned to 6240 Van Dyke Detroit, MI 48213 (hereinafter "BP gas

      station").




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17.   DETECTIVE OLIVER learned that the cellphone was returned to the BP

      gas station by a female.

18.   DETECTIVE OLIVER went to the BP gas station to view the video footage

      of the individual female that had returned the cellphone.

19.   DETECTIVE OLIVER submitted an AVERT request to members of the

      Detroit Police Department to extract the video.

20.   Once the video was extracted, DETECTIVE OLIVER submitted a facial

      recognition request on the female that returned the cellphone to the BP gas

      station.

21.   Facial recognition returned identification for PLAINTIFF (Porcha

      Woodruff).

22.   Several days later, on February 2, 2023, DETECTIVE OLIVER had an

      interview with VICTIM who stated that he met a female named Trinidad at

      the Hoover Market on January 29, 2023.

23.   VICTIM stated that he and the female had engaged in sexual intercourse at a

      liquor store (a fact that VICTIM had not disclosed during the initial

      interview with police).

24.   VICTIM then stated that he and the female went to the same BP gas station

      early that day, and the female interacted with several individuals at the gas

      station.



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25.   VICTIM stated that after he and the female left the BP gas station, they

      traveled to Bessemore and Gratiot where VICTIM was robbed and carjacked

      by a black male.

26.   VICTIM stated that the black male suspect was one of the individuals that

      the female interacted with at the BP gas station earlier.

27.   DETECTIVE OLIVER returned to the BP gas station a second time to view

      additional video footage since VICTIM claimed that he and the female

      stopped there before he was robbed and carjacked.

28.   DETECTIVE OLIVER stated in detail in her report what she observed in the

      video footage, and there was no mention of the female suspect being

      pregnant.

29.   On February 2, 2023, a black male was arrested driving VICTIM’s vehicle.

30.   VICTIM was brought to the Detroit Detention Center to view a live line up

      of the male suspect that was driving VICTIM’s vehicle.

31.   VICTIM positively identified the male suspect that was driving his vehicle

      as the individual that robbed and carjacked him at gun point.

32.   DETECTIVE OLIVER interviewed the male suspect who admitted that he

      knew a female named Trinadad, but DETECTIVE OLIVER failed to show

      the suspect a photo of PLAINTIFF.




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33.   VICTIM was shown a six-pack lineup, and VICTIM allegedly identified

      PLAINTIFF, Porcha Woodruff, as the female who was present when the

      robbery and carjacking occurred.




34.   The photo used in the lineup of PLAINTIFF was from an arrest in Canton,

      Michigan from 2015.

35.   Despite having access to PLAINTIFF’s current Driver’s License, it was not

      used in the photo lineup.




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36.   DETECTIVE OLIVER requested a warrant for PLAINTIFF's arrest

      following an unreliable facial recognition hit, and from VICTIM allegedly

      identifying PLAINTIFF in a lineup from a photo that was eight years old.

                                      ARREST

37.   On Thursday, February 16, 2023, at 7:50 a.m., PLAINTIFF was helping her

      two children get ready for school when she heard a loud knock at her door.

38.   PLAINTIFF approached her front door and observed six Detroit Police

      Officers.

39.   One of the officers asked PLAINTIFF when she answered the door "if she

      was Porcha Woodruff," and PLAINTIFF responded "yes."

40.   The officer informed PLAINTIFF that, "I have a warrant for your arrest, step

      outside."

41.   PLAINTIFF assumed the officer was joking.

42.   PLAINTIFF asked the officer what the warrant was for.

43.   The officer refused to tell PLAINTIFF what the warrant was for.

44.   Another officer finally informed PLAINTIFF that she had a warrant for her

      arrest for robbery and carjacking.

45.   PLAINTIFF asked the officer, "Are you kidding, carjacking? Do you see

      that I am eight (8) months pregnant?"




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46.      On that date, PLAINTIFF was approximately eight months pregnant

         PLAINTIFF realized that the officers were serious, so she was forced to tell

         her two children, who stood there crying, to go upstairs and wake

         PLAINTIFF's fiancé to tell him that "Mommy is going to jail.”

47.      PLAINTIFF's fiancé rushed downstairs to figure out what was taking place.

48.      Once downstairs, PLAINTIFF's fiancé learned that PLAINTIFF was being

         arrested for robbery and carjacking.

49.      PLAINTIFF and PLAINTIFF's fiancé urged the officers to check the

         warrant to confirm the female who committed the robbery and carjacking

         was pregnant, but the officers refused to do so.

50.      PLAINTIFF also called her mother before being arrested and reluctantly

         informed her mother that the police were at her home arresting her for

         robbery and carjacking.

51.      PLAINTIFF's mother attempted to explain to the officers over the cellphone,

         that it is not possible, stating, "she is eight months pregnant, there is no way

         she can carjack anyone pregnant.”

52.      Despite PLAINTIFF and her family's pleas, PLAINTIFF was taken to the

         police vehicle, searched, handcuffed, and arrested for her family and

         neighbors to witness. *



*PLAINTIFF’S fiancé recorded this arrest on his cellphone.

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53.   PLAINTIFF was taken to the Detroit Detention Center where she arrived

      around 8:20 a.m., and she was processed and booked.




54.   While being booked, PLAINTIFF disclosed that she was diagnosed with

      gestational diabetes from her pregnancy.

55.   While at the Detroit Detention Center, PLAINTIFF was not able to consume

      the foods or beverages offered because of her diagnosis.

56.   PLAINTIFF was able to talk to a court-appointed attorney at around 1:30

      p.m. via video.

57.   PLAINTIFF informed the court-appointed attorney that she was eight (8)

      months pregnant.

58.   The court-appointed attorney informed PLAINTIFF that she would request a

      personal bond at arraignment since PLAINTIFF was pregnant.

59.   After PLAINTIFF was interviewed by the court-appointed attorney,

      PLAINTIFF was taken back to the holding cell.

60.   Approximately 30 minutes later, PLAINTIFF was taken back out of the

      holding cell, and taken to a room to talk to DETECTIVE OLIVER and an

      unknown detective.




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61.   The following is a summary of the conversation between DETECTIVE

      OLIVER and PLAINTIFF:

              DETECTIVE OLIVER: Do you know someone named Daniel White?
              PLAINTIFF: No
              DETECTIVE OLIVER: Do you frequently visit a BP gas station on
              94 and Van Dyke.
              PLAINTIFF: No
              DETECTIVE OLIVER: A person made a report that he was carjacked
              by a black male and you were with the black male.
              PLAINTIFF: That is impossible.
              DETECTIVE OLIVER: How many tattoos do you have?
              PLAINTIFF: Five
              DETECTIVE OLIVER: Can I see the ones on your right arm and
              wrist?
              PLAINTIFF: Yes. PLAINTIFF showed the tattoos.
              DETECTIVE OLIVER: Are those the only ones you have on your
              arm?
              PLAINTIFF: Yes
              DETECTIVE OLIVER: What kind of cellphone do you have and who
              is your carrier?
              PLAINTIFF: An iPhone and Xfinity mobile.
              PLAINTIFF: How did my name come up?
              DETECTIVE OLIVER: You were identified by the victim in a photo
              lineup as the individual that was with the male that robbed and
              carjacked him.
              PLAINTIFF: Did the victim say the female was 8 months pregnant?
              DETECTIVE OLIVER: No

62.   Despite knowing that PLAINTIFF was not involved in the robbery or

      carjacking, DETECTIVE OLIVER directed PLAINTIFF back to the holding

      cell.

63.   PLAINTIFF was arraigned approximately two hours later on the charges of

      robbery and carjacking.



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64.   PLAINTIFF received a $100,000 personal bond and was told not to leave

      the state by the magistrate.

65.   PLAINTIFF was released from the Detroit Detention Center at

      approximately 7:00 p.m.

66.   While at the Detroit Detention Center, PLAINTIFF stood and/or sat on a

      concrete bench for approximately eleven (11) hours before being released

      since there were no beds or chairs available.

67.   Once released, PLAINTIFF was taken to St. John's Hospital by her fiancé

      because she was suffering from stomach tightness and pain, whole body

      pains, headaches, and body weakness (See Exhibit 2).

68.   While at the hospital, PLAINTIFF was taken to an examination room for

      observation.

69.   PLAINTIFF was diagnosed with a low heart rate because of dehydration,

      and given two bags of fluid intravenously.

70.   PLAINTIFF also learned that she was having contractions due to stress from

      that day's events.

71.   PLAINTIFF was discharged from the hospital and instructed to take

      medication, maintain a healthy diet, stay hydrated, and ensure ample rest to

      safeguard the well-being of her unborn child, who was impacted by the

      situation.



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72.      Hospital staff also told PLAINTIFF that her doctor would be in contact with

         her in the next 24 hours.

73.      The following day, PLAINTIFF contacted DETECTIVE OLIVER to have

         her cellphone returned.

74.      Although DETECTIVE OLIVER knew PLAINTIFF was not involved in the

         robbery or carjacking, DETECTIVE OLIVER refused to release

         PLAINTIFF's cellphone to PLAINTIFF.

75.      DETECTIVE OLIVER informed PLAINTIFF that a warrant was obtained to

         get a call detail from Xfinity Mobile to determine if PLAINTIFF was in the

         area when the robbery and carjacking occurred. **

76.      PLAINTIFF pleaded with DETECTIVE OLIVER to return her cellphone

         immediately because her children and her doctor had no other way to get in

         contact with PLAINTIFF other than her cellphone, but DETECTIVE

         OLIVER refused.

77.      Finally, PLAINTIFF's cellphone was returned to PLAINTIFF three hours

         later.

78.      On February 27th, 2023, PLAINTIFF appeared for her Probable Cause

         Conference in the 36th District Court before the Honorable Aliyah Sabree,

         and PLAINTIFF demanded to hold her Preliminary Examination.

79.      The Preliminary Examination was scheduled for March 6, 2023.

**PLAINTIFF recorded this conversation.


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80.    On March 6, 2023, PLAINTIFF appeared for her Preliminary Examination,

       and the Wayne County Prosecutor’s Office dismissed the case against

       PLAINTIFF for insufficient evidence (See Exhibit 3).


                           COUNT I
      FALSE ARREST AND IMPRISONMENT IN VIOLATION OF THE
             FOURTH AMENDMENT AND 42 U.S.C. § 1983
                     (DETECTIVE OLIVER)

81.    PLAINTIFF incorporates by reference the above paragraphs.

82.    The Fourth Amendment to the United States Constitution guarantees the

       right of the people "to be secure in their persons ... against unreasonable...

       seizures" and demands that "no Warrants shall issue, but upon probable

       cause, supported by Oath or affirmation."

83.    In the warrant affidavit, DETECTIVE OLIVER omitted the fact that

       PLAINTIFF’s facial recognition photo was eight (8) years old, and

       PLAINTIFF’s recent Driver’s License Photo was available.

84.    DETECTIVE OLIVER deliberately omitted facts because the magistrate

       would have possibly denied the warrant.

85.    The omitted facts were material in finding probable cause to obtain a

       warrant affidavit for PLAINTIFF’s arrest.




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                                 COUNT II
               42 U.S.C. § 1983 MALICIOUS PROSECUTION
                          (DETECTIVE OLIVER)

86.   PLAINTIFF incorporates by reference the above paragraphs.

87.   DETECTIVE OLIVER initiated the criminal proceedings against

      PLAINTIFF by submitting a warrant for robbery and carjacking.

88.   DETECTIVE OLIVER lacked probable cause to initiate the proceeding.

89.   On March 6, 2023, the criminal proceedings were dismissed in

      PLAINTIFF’s favor for insufficient evidence.

90.   DETECTIVE OLIVER's actions appeared to be driven by malice towards

      PLAINTIFF.

91.   As a consequence of the proceeding, PLAINTIFF suffered a significant

      deprivation of liberty as she was given a $100,000 personal bond and was

      not allowed to leave the state following the arraignment.



                            COUNT III
                         ELLIOT LARSEN
             VIOLATION OF PUBLIC ACCOMMODATION
                OF PUBLIC SERVICE AT MCLA 37.2301
           (DEFENDANT DETROIT and DETECTIVE OLIVER)

92.   PLAINTIFF incorporates by reference the above paragraphs.

93.   PLAINTIFF was denied “full and equal enjoyment of . . . public service

      because of . . . race . . .” MCL 37.2302.



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94.   DEFENDANT DETROIT’s Police Department is a place of public

      accommodation, a public service, and law enforcement agency as defined in

      Michigan’s Elliot-Larsen Civil Rights Act (the Act), MCL 37.2301.

95.   DETECTIVE OLIVER is a person, as that term is defined in the Act, and is

      an agent of DEFENDANT DETROIT.

96.   DEFENDANT DETROIT allowed DETECTIVE OLIVER and others to

      engage in a pattern of racial discrimination of PLAINTIFF and other Black

      citizens by using facial recognition technology practices proven to

      misidentify Black citizens at a higher rate than others in violation of the

      equal protection guaranteed by Elliott-Larsen Act.

97.   DEFENDANT DETROIT violated the Act and deprived PLAINTIFF of her

      civil rights by, among other things, subjecting PLAINTIFF, because of her

      race, arresting PLAINTIFF and other inconvenient acts which had the

      purpose and effect of denying her the full benefit of public safety of the

      police department and denying PLAINTIFF full and equal access to the use

      and privileges of public accommodations, public service, and police

      protection.

98.   As a direct and proximate result of the conduct of DEFENDANTS,

      PLAINTIFF has suffered injuries and damages, including but not limited to:




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         a. Past and future pain and suffering, embarrassment, humiliation,

            mortification;

         b. Economic Damages;

         c. Past and future emotional distress; and

         d. Deprivation of equal protection and due process of law



                        COUNT IV
 MONELL LIABILITY FOR FALSE ARREST AND IMPRISONMENT IN
  VIOLATION OF THE FOURTH AMENDMENT AND 42 U.S.C. § 1983
                  (DEFENDANT DETROIT)

99.   PLAINTIFF incorporates by reference the above paragraphs.

100. PLAINTIFF was injured and had her Fourth Amendment right to be free of

      unreasonable seizures violated because DEFENDANT DETROIT’s Police

      Department established inadequate policies, failed to train officers, and

      exhibited a custom of acquiescence regarding deficient facial recognition

      practices.

101. Given the publicly known flaws of facial recognition technology are prone

      to misidentifying individuals, DEFENDANT DETROIT’s Police

      Department violated her Fourth Amendment rights by failing to guard

      against foreseeable errors and their consequences.




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102. Moreover, DEFENDANT DETROIT did not adequately train its officers,

     including DETECTIVE OLIVER, to properly utilize facial recognition

     technology.

103. Considering the substantial emphasis DEFENDANT DETROIT's Police

     Department placed on facial recognition searches, the failure to implement

     proper regulations for the technology's use and adequately train its

     employees reveals a state of deliberate indifference towards the potential

     harm faced by individuals erroneously "identified." The inclusion of these

     individuals in six-pack photo lineups significantly increases the chances of

     further misidentification, especially since their appearance in such lineups

     could closely resemble the actual suspect due to prior identification as

     potential matches by the facial recognition technology.



                             COUNT V
           FALSE ARREST AND IMPRISONMENT (STATE CLAIM)
                        (DETECTIVE OLIVER)

104. PLAINTIFF incorporates by reference the above paragraphs.

105. PLAINTIFF was arrested and imprisoned as a result of DETECTIVE

     OLIVER’s actions.

106. PLAINTIFF was aware of the arrest and imprisonment, and it was against

     PLAINTIFF’s will.



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107. DETECTIVE OLIVER intended to arrest and imprison PLAINTIFF against

      PLAINTIFF’s will.

108. The arrest and imprisonment were unlawful as DETECTIVE OLIVER was

      aware PLAINTIFF had not committed the crime alleged prior to

      PLAINTIFF’s arraignment, and DETECTIVE OLIVER failed to take any

      actions to have PLAINTIFF released.



                            COUNT VI
                  MALICIOUS PROSECUTION (STATE)
                       (DETECTIVE OLIVER)

109. PLAINTIFF incorporates by reference the above paragraphs.

110. DETECTIVE OLIVER continued a prosecution against PLAINTIFF when

      DETECTIVE OLIVER was aware that PLAINTIFF had not committed a

      crime.

111. On March 6, 2023, the criminal proceedings were dismissed in

      PLAINTIFF’s favor for insufficient evidence.

112. DETECTIVE OLIVER continued the proceeding without probable cause, as

      DETECTIVE OLIVER learned on February 16, 2023 at the Detroit

      Detention Center that PLAINTIFF was not the individual that had

      committed the crime of robbery and carjacking because PLAINTIFF was




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      eight months pregnant; however, DETECTIVE OLIVER made no attempts

      to stop the criminal proceedings.

113. DETECTIVE OLIVER continued the proceeding with malice as described

      more fully above in Paragraphs 108 and 112.



                         COUNT VII
       INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                    (DETECTIVE OLIVER)

114. PLAINTIFF incorporates by reference the above paragraphs.

115. In the manner described more fully above, DETECTIVE OLIVER engaged

      in extreme and outrageous conduct.

116. DETECTIVE OLIVER continued a criminal proceeding against

      PLAINTIFF where DETECTIVE OLIVER knew that PLAINTIFF was

      innocent.

117. DETECTIVE OLIVER knew that there was a high probability that her

      conduct would cause severe emotional distress to PLAINTIFF.

118. The misconduct described in this Count was undertaken with malice,

      willfulness, and reckless indifference to the rights of PLAINTIFF.

119. As a proximate cause of this misconduct, PLAINTIFF suffered injuries

      including but not limited to severe emotional distress.




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      WHEREFORE, PLAINTIFF prays for:

         a. Compensatory non-economic and economic damages that may be

            proven at trial to compensate PLAINTIFF;

         b. Exemplary/Punitive damages as may be proven at trial;

         c. Reasonable attorney fees, costs, and interest pursuant to 42 U.S.C.

            §1988; and,

         d. Such other and further relief as appears reasonable and just under the

            circumstances.



Dated: August 3, 2023                        /s/Ivan L. Land
                                             Ivan L. Land (P65879)
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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


PORCHA WOODRUFF,
    an individual,                     Case No.
           Plaintiff,                  Hon.

V

CITY OF DETROIT
a municipal corporation,

LaSHAUNTIA OLIVER,
City of Detroit Police Detective,
Individually, and in his Official
Capacities, and

             Defendants.




                        DEMAND FOR TRAIL BY JURY

      NOW COMES PLAINTIFF hereby demands a trial by jury.



Dated: August 3, 2023                      /s/Ivan L. Land
                                           Ivan L. Land (P65879)
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